 

pe eeepc eS ee SE es gp ee SHEET ERE

i Wi Ht i Mil
A
mi

Ui

wnt

UTA

nT

NN

 

 

 

*CRI2C.*

0198 EGaPasumentstfie Filed 02/12/01 PagelD.90 Page 1 of 6
Case 3:95-cr-01985-IEG Document 48 Filed 02/12/01 PagelD.91 Page 2 of 6

"ROWE 120
woody

UNITED STATES DISTRICT COURT ose ft 7
FOR THE Sone
SOUTHERN DISTRICT OF CALIFORNIA = Q| FEB 12. PH 2:02

Petition for Warrant or Summons for Offender Under Supervistorr\i <2 786.5

BY CEPLTY
Name of Offender: Aaron Franklin BRINK (English) Dkt No.: one
Reg. No.: 46789-198
Name of Sentencing Judicial Officer: The Honorable Irma E. Gonzalez, U.S. District Judge

Date of Sentence: 8/19/96
Original Offense: 21 U.S.C. §§ 952 and 960, Importation of Marijuana, a Class B felony.

Sentence: 30 months custody, 4 years supervised release (Special Conditions: Participate in a program
of drug or alcohol abuse treatment including urinalysis testing and counseling; submit to search; report
all vehicles.) $50 spectal assessment.

Modified on 9/14/99; Participate in a mental health treatment program as directed by the probation
officer.

Type of Supervision: Supervised Release Date Supervision Commenced: 8/7/98

Asst. U.S. Atty.: David L. Katz Defense Counsel: Tony Cheng, Fed.Def. Inc. (appt.)
(619) 234-8501

Prior Violation History: On September 13, 1999, the undersigned submitted a violation report to the
Court (attached), reporting that the offender committed a battery upon his then girlfriend, for which he
sustained a conviction in San Diego County Municipal Court. Further, Mr. Brink failed to appear for
drug testing on two occasions, and tested positive for morphine, and Nandrolone, an illegal anabolic
steroid. Furthermore, Mr, Brink traveled outside of the Southern District of California without
permission from the probation officer, and was involved in a traffic accident in Las Vegas. On
September 27, 1999, Mr. Brink appeared betore the Court, and entered an admission to each of the
allegations. Your Honor found the offender in violation, and continued him on supervision. His
conditions of supervised release were modified to include that he participate in a mental health treatment
program as directed by the probation officer.

6
Case 3:95-cr-01985-IEG Document 48 Filed 02/12/01 PagelD.92 Page 3 of 6
ROB 120

Name of Offender: Aaron Franklin BRINK February 8, 2001
Docket No.: 95-CR-1985-001-IEG Page 2

—

 

 

PETITIONING THE COURT
TO ISSUE A NO-BAIL BENCH WARRANT

The probation officer believes that the offender has violated the following conditions of supervision:

CONDITION ALLEGATION(S) OF NONCOMPLIANCE
(Mandatory Condition)

Refrain from any unlawful use of a 1. On June 19, 2000, Mr. Brink submitted a urine
controled substance. specimen which tested positive for Nandrolone,

and Stanozolol, both illegal anabolic steroids.

2. On December 11, 2000, Mr. Brink submitted a
urine specimen which tested positive for
Nandrolone, Stanozolol and Methenolone, all
illegal anabolic steroids.

(Special Condition)
Participate in a program of drug or alcohol — 3. On December 8, 2000, and January 20, 2001,

abuse treatment, including urinalysis Mr. Brink failed to appear for urinalysis testing at
iesting and counseling, as directed by the Mental Health Systems, Inc., as directed by the
probation officer. probation officer.

(Standard Condition)
Work regularly at a lawful occupation 4. Mr. Brink has failed to work regularly at a lawful

unless excused by the probation officer for occupation. While on supervision Mr. Brink has
schooling, training or other acceptable not held a job longer than a three week period.
reasons. Further, he has failed to provide the probation

officer with proof of income from any legitimate
employment since the month of July 2000.
Case 3:95-cr-01985-IEG Document 48 Filed 02/12/01 PagelD.93 Page 4 of 6

ROB TIC

Name of Offender: Aaron Franklin BRINK

Docket No.: 95-CR-1985-001-IEG

February 8, 2001
Page 3

 

(Standard Condition)

Not associate with any persons engaged in
criminal activity, and not associate with
any person convicted of a felony unless
eranted permission to do so by the
probation officer.

5. On April 27, 2000, Mr. Brink was contacted by the
San Diego County Sheriff's Office while in the
company of William Munz, a convicted felon, a
documented Outlaw Motorcycle Club gang
member. Mr. Brink was riding a Harley Davidson
Motorcycle, and was loitering in front of a
residence known for criminal activity.

U.S. Probation Officer Recommendation: If found in violation, that supervised release be revoked.

Respectfully submitted:

     

s Grimm
U.S. Probation Officer
(619) 557-5349

Date: February 8, 2001

Attachments: 12CS; 12CW,; Min, Order dtd.

Reviewed and approved:

Lessa earcosnis

Ursula W. Jenni
Supervising U.S. Probation Officer

9/27/99; F12 &Ltr. dtd. 9/13/99; Wrksheet; J&C:; PSR
Case 3:95-cr-01985-IEG Document 48 Filed 02/12/01 PagelD.94 Page 5 of 6
SALE LC
Name of Offender: Aaron Franklin BRINK February 8, 2001
Docket No.: 95-CR-1985-001-IEG Page 4

 

 

 

THE COURT ORDERS:
A NO-BAIL BENCH WARRANT BE ISSUED TO BRING THE OFFENDER BEFORE

THE COURT TO SHOW CAUSE WHY SUPERVISED RELEASE SHOULD NOT BE
REVOKED FOR THE ALLEGED VIOLATIONS.

Other

 

 

 

find §- flees 0/1//

The Honvrable Irma ES Gonzaféz Date
U.S. District Judge

fe/jec
Case 3:95-cr-01985-IEG Document 48 Filed 02/12/01 PagelD.95 Page 6 of 6
AO 442

 

 

United States District Court

SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA
V. WARRANT FOR ARREST

Aaron Franklin Brink

CASE NUMBER: = 95-cr-1985-IEG

To: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest Aaron Franklin Brink

 

Name

and bring him or her forthwith to the nearest magistrate to answer a(n)

[ indictment [_]information [__]Compiaint [ |order of Court [_] Violation Notice [X] Probation Violation Petition

a [__]Pretriat Violation
charging him or her with (brief description of offense)

 

 

 

 

in violation of Title See Above United States Code, Section(s)
Roberta Westdal Clerk of the Court
Name of Issui Title of Issuing Officer
~~ \ J. HASLAM
J. Hasiam oy February 12, 2001 San Diego CA
Signature of Depwty” Date and Location
Bail fixed at $ NO BAIL SET by The Honorabie Irma E. Gonzalez

 

Name of Judicial Officer

 

RETURN

 

This warrant was received and executed with the arrest of the above-named defendant at

 

 

 

DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST

 

 

 

 

 
